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 7                                    UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                      No. 2:19-mc-00241-TLN-EFB
11                       Plaintiff,
12              v.                                   ORDER
13    STEVEN ZINNEL, et al.,
14                       Defendants.
15

16          On November 30, 2023, defendant Steven Zinnel filed a motion to compel production of

17   documents in the possession of the government. ECF No. 5. The documents in question were

18   obtained pursuant to two subpoenas issued by the United States to Zinnel’s now-deceased

19   brother, David Zinnel.1 ECF No.5-3 at 5-10 (subpoena for deposition testimony); id. at 12-16

20   (subpoena for production of documents) [hereinafter the “David Zinnel Subpoenas” or

21   “Subpoenas”].

22          I.       The David Zinnel Subpeonas

23          The David Zinnel Subpoenas were requested by the United States to aid in enforcing an

24   unpaid criminal judgment entered against Steven Zinnel in Criminal Case No. 2:11-CR-00234-

25   TLN (E.D. Ca.) [hereinafter the “11-234 Criminal Case”]. ECF No. 1 at 1-2. On December 18,

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27            David Zinnel died on October 14, 2022. ECF No. 5 at 2 n.3. David’s estate has filed an
     opposition to Steven’s motion. ECF No. 15.
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 1   2019, the court ordered the clerk to issue and serve the Subpoenas. ECF No. 3. The court
 2   retained jurisdiction to resolve matters through ancillary proceedings in the case, if necessary. Id.
 3   at 2. Neither the United States, nor David Zinnel, sought the court’s intervention regarding
 4   compliance with the Subpoenas.
 5           II.    The Nature of Steven Zinnel’s Motion
 6          Steven’s Zinnel’s motion asserts that the government’s failure to serve him with copies of
 7   the Subpoenas, and failure to give notice in advance of service, violated Rule 45(a)(4) of the
 8   Federal Rules of Civil Procedure. ECF No. 5 at 2-3. Steven believes that hundreds of pages of
 9   documents were produced to the government in response to the Subpoenas. Id. at 3. Steven
10   states he has requested copies of the documents from the government and from David’s estate
11   administrator, but his requests have been refused. Id.; ECF No. 5-1 at 5. Steven now asks the
12   court to issue an order compelling the government and David’s estate administrator to provide
13   him with copies of “all documents the government received as the result of two subpoenas the
14   government issued to David P. Zinnel.” ECF No. 5-1 at 7. The only authority Steven cites for his
15   request is the text of Fed. R. Civ. P. 45(a)(4), requiring notice to other parties before service of a
16   subpoena. Id. at 5.
17          Steven has captioned his motion as a motion to compel production of documents. The
18   United States, as the party that might typically have sought a motion to compel production, has
19   responded to Steven’s motion by indicating it defers to any claims of privilege or protection
20   raised by David’s estate. ECF No. 7 at 2. David’s estate, as the party that might typically have
21   sought an order of protection, has responded in opposition to Steven’s motion by objecting inter
22   alia that Steven lacks standing. ECF No. 15. For the reasons stated herein, the court need not
23   address the merits of the estate’s objections.
24          It is something of a misnomer to characterize Steven’s motion, ECF No. 5, as a motion to
25   compel production. Steven’s motion is more in the nature of a request for discovery sanctions to
26   be imposed on the United States for having failed to notify Steven of the Subpoenas when they
27   were issued in late 2019 or early 2020. See ECF No. 5 at 2. The nature of the sanction Steven
28   requests is that the United States and David’s estate be required to provide Steven with copies of
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 1   the documents produced by David pursuant to the Subpoenas. Id. at 3; ECF No. 5-4. For this
 2   reason, the court will hereinafter refer to Steven’s motion as the “motion for copies.”
 3          III.    The Near-Identical Motion in Steven Zinnel’s Criminal Case
 4          On November 29, 2023, Steven Zinnel filed a motion in the 11-234 Criminal Case asking
 5   the court for the same relief he is requesting here, on the same grounds.2 United States v. Zinnel,
 6   2:11-cr-00234-TLN, ECF Nos. 724. As with Steven’s motion for copies in this case, his sole
 7   authority for his requested relief was the text of Rule 45(a)(4). Id. at ECF No. 724-1 at 6. The
 8   court denied the motion Steven filed in the 11-234 Criminal Case in a minute order issued
 9   December 8, 2023:
10          The Court has reviewed Defendant’s [i.e., Steven Zinnel’s] Motion to Compel
            Production of Documents Produced Pursuant to Four Subpoenas. (ECF No. 724.)
11          Defendant seems to argue the Government failed to serve him with subpoenas in
            2019, 2020, and 2021, and the Government’s failure to do so violated Federal Rule
12          of Civil Procedure 45(a)(4). Defendant’s motion lacks clarity. Defendant fails to
            present authority – and the Court can conceive of none – to support granting the
13          motion. In addition, it appears the subpoenas are associated with the civil
            garnishment actions brought against Defendant, not the instant criminal case.
14          Accordingly, the Court DENIES Defendant’s motion. Defendant is cautioned
            against submitting baseless motions in this closed criminal case in the future.
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16   Id. at ECF No. 726.
17          Steven appealed. The Ninth Circuit Court of Appeals has affirmed the denial of Steven’s
18   motion filed in his criminal case. United States v. Zinnel, No. 23-4268 (9th Cir. Feb. 28, 2024);
19   see also United States v. Zinnel, 2:11-cr-00234-TLN, ECF Nos. 731, 732 (court of appeals order
20   and mandate entered on district court docket). The entirety of the Ninth Circuit’s holding is that:
21          A review of the record and [Steven Zinnel’s] response to this court’s January 8,
            2024 order to show cause indicates that the questions raised in this appeal are so
22          insubstantial as not to require further argument. See United States v. Hooton, 693
            F.2d 857, 858 (9th Cir. 1982). Zinnel has not established that the district court
23          erred in denying Zinnel’s motion, made in his closed criminal case, to compel
            production of documents obtained via subpoena in separate civil garnishment
24          actions.
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26             Steven Zinnel’s motion in his criminal case additionally asked for copies of documents
     produced pursuant to subpoenas issued to JP Morgan Chase Bank, N.A. and The Vanguard
27   Group, Inc. United States v. Zinnel, 2:11-cr-00234-TLN, ECF No. 724 at 2. Steven’s requests
     for copies produced in response to the JP Morgan and Vanguard subpoenas were resolved
28   identically to his request for documents produced pursuant to the David Zinnel Subpoenas.
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 1   United States v. Zinnel, No. 23-4268 (9th Cir. Feb. 28, 2024); see also United States v. Zinnel,
 2   2:11-cr-00234-TLN, ECF Nos. 731 (appellate order entered on district court docket).
 3          IV.     Analysis
 4          “[A] litigant has no right to maintain two separate actions involving the same subject
 5   matter at the same time in the same court and against the same defendant.” MHC Financing Ltd.
 6   P’ship v. City of San Rafael, 714 F.3d 1118, 1133 (9th Cir. 2013) (citing Alltrade, Inc. v. Uniweld
 7   Products, Inc., 946 F.2d 622, 623 (9th Cir. 1991)). Steven Zinnel filed substantively identical
 8   motions, seeking identical relief from the same party, in two separate actions in this court. He
 9   filed his motion in this miscellaneous matter one day after he filed his motion in his criminal case,
10   and his motion here might have been dismissed for this reason alone.
11          As events have unfolded, the substantively identical motion that Steven filed in his
12   criminal case has already been decided and the decision affirmed. The motion for copies he has
13   filed in this miscellaneous matter is therefore also barred by the doctrine of res judicata. Res
14   judicata bars re-litigation of any claims that were raised or could have been raised in a prior
15   action. Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 713 (9th Cir. 2001); see also
16   United States v. Sioux Nation of Indians, 448 U.S. 371, 432 (1980) (Rehnquist, J., dissenting) (the
17   doctrine of res judicata is based on avoidance of unnecessary judicial waste, as well as the
18   defendant’s interest in avoiding the burdens of twice defending a suit); Clements v. Airport Auth.
19   of Washoe County, 69 F.3d 321, 329-30 (9th Cir. 1995) (the court may raise application of the res
20   judicata doctrine sua sponte).
21          Accordingly, and for all these reasons, Steven’s motion is denied.
22          V.      Conclusion
23          Accordingly, it is hereby ORDERED that:
24          1.      Steven Zinnel’s motion, ECF No. 5, is denied; and
25          2.      The Clerk is directed to close this miscellaneous action.
26   Dated: August 12, 2024
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